     Case 1:12-cr-00035-DAD-BAM Document 129 Filed 06/02/20 Page 1 of 1


1
2
3
4
5
6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                   )      Case №: 1:12-CR-00035-1 DAD
                                                  )
9                     Plaintiff,                  )                    ORDER
                                                  )               APPOINTING COUNSEL
10            vs.                                 )
                                                  )
11    BONNIE LYNN RECINOS,                        )
                                                  )
12                    Defendant.                  )
                                                  )
13
             The above named Defendant has, under oath, sworn or affirmed as to her financial
14
15    inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16    obtain counsel and wishes counsel be appointed to represent her on Compassionate Release.

17    Therefore, in the interests of justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C.
18
      § 3006A,
19
             IT IS HEREBY ORDERED that Timothy Hennessy be appointed to represent the above
20
      defendant in this case effective nunc pro tunc to May 25, 2020, substituting the Federal
21
22    Defenders Office appointed per G.O. 595.

23           This appointment shall remain in effect until further order of this court.

24
      IT IS SO ORDERED.
25
26       Dated:     June 1, 2020
                                                         UNITED STATES DISTRICT JUDGE
27
28

                                                       -1-
